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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION

____________________________________
                                                §
UNITED STATES OF AMERICA,                       §
                                                §
                        Plaintiff,              §
v.                                              §
                                                §        Civil No. 1:21-cv-796
THE STATE OF TEXAS,                             §
                                                §
                        Defendant.              §



      UNITED STATES’ OPPOSED MOTION TO EXCEED PAGE LIMITATIONS

        Pursuant to Local Rule CV-7(B), the United States respectfully requests leave to file a motion

that exceeds the page limit set forth in Local Rule CV-7(C)(2). The Government seeks leave to file a

35-page Emergency Motion for a Temporary Restraining Order or Preliminary Injunction, which

would be fifteen pages longer than permitted under the Local Rules. In support of this motion, the

Government states as follows:

        1.      On September 9, 2021, the United States filed its complaint in this case against the

State of Texas, seeking a declaratory judgment stating that Texas’s Senate Bill 8, 87th Leg., Reg. Sess.

(Tex. 2021) (“S.B. 8”) (to be codified at Tex. Health & Safety Code §§ 171.203(b), 171.204(a)) is

invalid, null, and void, as well as injunctive relief prohibiting any and all enforcement of S.B. 8 by the

State. Dkt. 1, Compl., Prayer for Relief.

        2.      The United States’ emergency motion seeks to enjoin the effect of S.B. 8 on numerous

legal grounds including that S.B. 8 was enacted in violation of the Supremacy Clause and the

Fourteenth Amendment and that S.B. 8 prevents the very individuals it injures from vindicating their

rights through the ordinary process of judicial review. The additional pages are needed so that the
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United States adequately can explain these legal issues and the basis for its emergency request to enjoin

S.B. 8.

          3.     Texas will not be prejudiced by this extension, as they are free to file a motion for

excess pages for their response brief under the rules. The United States anticipates consenting to any

such motion that is proportional to the relief sought here.

          4.     Pursuant to Local Rule CV-7(G), undersigned counsel conferred with counsel for the

State of Texas in a good faith attempt to resolve this motion by agreement, and counsel for the State

indicated that the State is opposed to the requested relief.

          WHEREFORE, the United States respectfully requests that this Court grant it leave to file a

35-page brief in support of its Emergency Motion for a Temporary Restraining Order or Preliminary

Injunction. A proposed order is attached.

Dated: September 14, 2021                               Respectfully submitted,

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                                                        Acting Assistant Attorney General

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                                                        Deputy Assistant Attorney General

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                                                        /s/ Lisa Newman
                                                        Lisa Newman (TX Bar No. 24107878)
                                                        James R. Powers
                                                        Joshua M. Kolsky
                                                        Kuntal Cholera
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                                                        Counsel for the United States




                               CERTIFICATE OF CONFERENCE

          I certify that I conferred via email with counsel for the State of Texas regarding the relief

requested in this application. Counsel for the State indicated that the State is opposed to the requested

relief.

                                                                /s/ Lisa Newman
                                                                Lisa Newman



                                   CERTIFICATE OF SERVICE

          I certify that a copy of this filing was emailed to Kenneth Paxton, Attorney General for the

State of Texas, and Brent Webster, the First Assistant to the Texas Attorney General. I further certify

that parties will also be served pursuant to Rule 5(b) of the Federal Rules of Civil Procedure.

                                                                /s/ Lisa Newman
                                                                Lisa Newman
